
*976OPINION.
Arundell:
The respondent does not contend in this case that capital was a material income-producing factor. It is our opinion that C. J. Swift must be regarded as the actual owner of all the stock of the petitioner in 1920 and 1921. Although the stock record book of the corporation shows stock outstanding in the names of persons other than Swift during those years, the certificates for. all but 20 per cent of the stock were immediately after issue indorsed in blank and handed to Swift, who thereafter kept them in *977his possession. The other 20 per cent was represented by a certificate issued to Swift’s daughter without consideration.. The daughter immediately indorsed the stock over to her mother,- who in turn delivered it to Swift, and it remained in his possession throughout the years 1920 and 1921. None of these record stockholders ever regarded the stock as their property, but, on the contrary, considered that all of the stock belonged to Swift. Since Swift was actively engaged in the business of the corporation, the only element we have left to consider is whether the income was primarily ascribable to his activities. Concerning this there is little doubt. Of the corporate income 80 per cent was produced either by Swift or by Swift and his son-in-law, Warner, working together. The income from business secured by solicitors was a minor factor as far as income was concerned and was handled only to keep the agency for certain large companies. The agency had been obtained by Swift and the income was largely due to his efforts in securing business under this agency. Cf. Harry S. Kaufman, Ltd. v. Commissioner, 24 Fed. (2d) 44, and F. Merges &amp; Co., 11 B. T. A. 444.
Reviewed by the Board.

Judgment will he entered for the ‘petitioner.

